AO 440(Rev. 6/12) Summons in a Civil Action (Page 2)
      Case 2:24-cv-08644-FMO-KS                         Document 16            Filed 10/16/24          Page 1 of 2 Page ID
Civil Action No. 2:24-cv-08644-FMO-KS                          #:49

                                                        PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)
        This summons for (name of individual and title, if any)        FARMERS INSURANCE EXCHANGE
        was received by me on October 14, 2024

            I personally served the Summons; Complaint; Civil Case Cover Sheet;Certification and notice of interested Parties
            (Local Rule 7.1-1);Notice of Assignment to United States Judges;Notice to Parties of Court-Directed ADR
            Program on the individual at 6301 Owensmouth Avenue , Woodland Hills, CA 91367 on 9:44 AM


        I left the above listed documents at the individual's business with Cameron Nelson - Corporate security, authorized
            to accept documents ,a person of suitable age and discretion who resides there, on (date) October 14, 2024, 9:44
            AM and mailed a copy to the individual's last known address; or




        I served the above listed documents to Chau Do , who is designated by law to accept service of process on behalf
            of FARMERS INSURANCE EXCHANGE on October 14, 2024 9:44 AM
            FRCP rule 4(h)(1)(A) and CCP 416.10(b)

            I returned the above listed documents unexecuted because;

            other (specify):

        My fees are $ .00 for travel and $ 50.75 for services, for a total of $ 50.75

        I declare under penalty of perjury that this information is true.




Date: 10/14/2024




                                                                                               Server's signature




                                                                                               Ivan Ratner
                                                                                             Printed name and title




                                                                                                      ,
                                                                                                      ,

                                                                                               Server's Address




                                                                                                                      A0440-PS340850
             Case 2:24-cv-08644-FMO-KS                                 Document 16
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                           Filed 10/16/24        Page 2 FOR
                                                                                                                                  of COURT
                                                                                                                                     2 Page       ID
                                                                                                                                           USE ONLY
   Christopher E. Roberts
   Butsch Roberts & Associates LLC                                            #:50
   7777 Bonhomme Avenue Suite 1300 Clayton, MO 63105
  TELEPHONE NO.: (314) 863-5700 | FAX NO. (314) 863-5711 | E-MAIL ADDRESS (Optional): CRoberts@butschroberts.com
   ATTORNEY FOR (Name): Plaintiff: KIMBERLY STARLING


 UNITED STATES DISTRICT COURT
       STREET ADDRESS: 255 E. Temple St.

       MAILING ADDRESS:

      CITY AND ZIP CODE: Los Angeles, CA 90012

           BRANCH NAME: CENTRAL DISTRICT

       PLAINTIFF/PETITIONER: KIMBERLY STARLING                                                                       CASE NUMBER:

  DEFENDANT/RESPONDENT: FARMERS INSURANCE EXCHANGE, et al.                                                                          2:24-cv-08644-FMO-KS

                                                                                                                     Ref. No. or File No.:
                                   DECLARATION OF DILIGENCE

   I, Ivan Ratner , declare: I am a Registered Process Server and was retained to serve process in the above-referenced matter on the
   following person or entity: FARMERS INSURANCE EXCHANGE as follows:
   Documents:
     Summons; Complaint; Civil Case Cover Sheet;Certification and notice of interested Parties (Local Rule 7.1-1);Notice of Assignment to
     United States Judges;Notice to Parties of Court-Directed ADR Program
   I attempted personal service on the following dates and times with the following results:



   Date                   Time                Location                    Results

   10/14/2024             9:44 AM             Business                    Agent for service was not available. - Ivan Ratner
                                                                          6301 Owensmouth Avenue, Woodland Hills, CA 91367
   10/14/2024             9:44 AM                     Business                    Substituted service on: FARMERS INSURANCE EXCHANGE; 6301
                                                                                  Owensmouth Avenue, Woodland Hills, CA 91367; by serving: Cameron
                                                                                  Nelson - Corporate security, authorized to accept documents,
                                                                                  Caucasian Female 30's y/o 170lbs Brown 5'9" Brown.
   10/14/2024                                                                     Mailed copy of documents to: FARMERS INSURANCE EXCHANGE.
                                                                                  6301 Owensmouth Avenue, Woodland Hills, CA 91367




Fee for Service: $ 50.75
        County: Los Angeles
        Registration No.: 2024197769                                                          I declare under penalty of perjury that the foregoing is true
        USA Express Legal & Investigative Services, Inc.                                      and correct and that this declaration was executed on
        21031 Ventura Blvd., Suite 920                                                        October 14, 2024.
        Woodland Hills, CA 91364
        (877) 872-3977

                                                                                              Signature:
                                                                                                                          Ivan Ratner

                                                  AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                 Order#: PS340850
